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                                    EXHIBIT 2




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                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE

In re:                                 )                               Chapter 11
                                       )
RED REEF ALTERNATIVE INVESTMENTS, LLC, )                               Case No. 20-12601 (BLS)
                                       )
                     Debtor.           )
                                       )
In re:                                 )                               Chapter 11
                                       )
EMERGENT CAPITAL, INC.,                )                               Case No. 20-12602 (BLS)
                                       )
                     Debtor.           )
                                       )

                ORDER AUTHORIZING JOINT ADMINISTRATION OF
           RELATED CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY

                   Upon consideration of the motion (the “Motion”)1 of the above-captioned debtors

and debtors in possession (collectively, the “Debtors”)2 seeking entry of an order (this “Order”)

pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1 authorizing and directing the joint

administration of the Debtors’ related chapter 11 cases for procedural purposes only; all as more

fully set forth in the Motion; and upon the First Day Declaration; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012; and this Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); and that this Court may enter a final order consistent with Article III of the

United States Constitution; and this Court having found that venue of this proceeding and the


1
    Capitalized terms not defined herein retain the meaning assigned to them in the Motion.
2
   The last four digits of each Debtor’s taxpayer identification number are: Red Reef Alternative Investments, LLC
(0302) and Emergent Capital, Inc. (3473). The location of the Debtors’ service address for purposes of these cases
is 1200 North Federal Highway, Suite 200, Boca Raton, FL 33432.


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Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that there is good and sufficient cause for the relief set forth in this Order; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; and the Court finding that: (a) the Debtors are “affiliates” within the

meaning of section 101(2) of the Bankruptcy Code; (b) the joint administration of the Debtors’

cases for procedural purposes is appropriate pursuant to Bankruptcy Rule 1015(b) and Local

Rule 1015-1; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                 1.          The Motion is hereby granted as set forth herein.

                 2.          The above-captioned chapter 11 cases are hereby consolidated for

procedural purposes only and shall be jointly administered by this Court. Nothing contained in

this Order shall be deemed or construed as directing or otherwise effecting a substantive

consolidation of the captioned cases, and this Order shall be without prejudice to the rights of the

Debtors to seek entry of an order substantively consolidating their respective cases.

                 3.          The caption of the jointly administered cases shall read as follows:




                                                         2
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                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE

In re:                                    ) Chapter 11
                                          )
RED REEF ALTERNATIVE INVESTMENTS, LLC and ) Case No. 20-12602 (BLS)
EMERGENT CAPITAL, INC.,1                  )
                                          ) (Jointly Administered)
                     Debtors.             )
1
    The last four digits of each Debtor’s taxpayer identification number are: Red Reef Alternative Investments, LLC
    (0302) and Emergent Capital, Inc. (3473). The location of the Debtors’ service address for purposes of these
    cases is 1200 North Federal Highway, Suite 200, Boca Raton, FL 33432.

                   4.        In addition, the Clerk shall make a notation substantially similar to the

following on the docket of Red Reef Alternative Investments, LLC:

                   An order (the “Joint Administration Order”) has been entered in
                   this case directing the joint administration of this chapter 11 case
                   with Case No. 20-12602 (BLS) for procedural purposes only. The
                   docket in Emergent Capital, Inc.’s Case No. 20-12602 (BLS)
                   should be consulted for all matters affecting this case.

                   5.        The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

                   6.        The Court retains jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




    Dated: October 16th, 2020                       BRENDAN L. SHANNON UNITED STATES BANKRUPTCY
    Wilmington, Delaware                            JUDGE




                                                            3
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